          Plaintiff’s Exhibit 5
To Accompany Motion In Limine to Include
       Remaining Part of Writings


         Plaintiff’s Supplement
        To Defendant’s Exhibit 9




                 1
                          THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

NANCY E. LEWEN,                                         :
                                                        : Civil Action No. 1:17-cv-148-SPB
                            Plaintiff,                  :
                                                        :
                v.                                      :
                                                        : Magistrate Judge
BARBARA RAYMOND,                                        : Susan Paradise Baxter
                                                        :
                            Defendant.                  :
                                                        :
                                                        :
                                                        :

                     PLAINTIFF’S SUPPLEMENT TO DEFENDANT’S EXHIBIT 9

        This supplement to the Facebook messages is written in first person by the Plaintiff as a

writer, not as a pro se litigant attempting to speak like an attorney.



Background

        On December 5, 2015, my PTSD was triggered in the workplace by the dayshift

supervisor, Deborah Cubero, in front of my night shift supervisor, Raymond Hamm. Barry Blasic

comforted me in the workplace immediately after the incident. Deb soon sought me out,

apologized and explained that it was because of stress in the workplace that she screamed at me for

no reason when she had actually meant to scream at Ray. This workplace violence was never

reported by Ray to PSSH Administration, or by him to the Director of Nursing, Kathy Wilcox. On

that day in the Facebook messages, December 5, 2015, I told Barry about the metaphor of

“squaring the circle.” ie. “doing the impossible.” Squaring the circle is also symbolic for

“transformation.”




                                                    2
         I then referred to the supervisors in the story as “Lay,” “Leb” and “Len,” rather than Ray,

Deb and Ken, and to Barry as “Larry.” This was in reference, in part, to the “layers” of an

allegory. But was also in reference to “Lucius” who was the protagonist in the ancient Roman

novel about transformation, “Metamorphoses,” otherwise known as “The Golden Ass.” 1

         The name Lucius derives from Latin word Lux meaning "light" or “to shine.” In the story,

Lucius is transformed into an ass. The way that he is transformed back to a man was by favor of

the Goddess Isis. On December 31, 2015, I did allude to this epic story by telling Barry that I had

no doubt that he was “a bit of a pagan goddess worshipper.”2 I did not believe that my supervisor,

Ray, was truly an “ass.” The statement that I made to Barry in the Facebook messages story that I

had told Ray I would “kick his ass” was NOT a threat of physical violence against Ray. It was

intended metaphorically regarding helping Ray to transform from being a victim of workplace

violence in the form of verbal abuse. Deb had explained that Ray was her actual intended target,

implying that her screaming at Ray was not an unusual occurrence and that Ray was the victim of

workplace violence on other occasions. Deb is actually a very nice woman. I had hoped to

somehow do the impossible and transform the stressful workplace culture so that Deb would no

longer be so stressed out and no longer scream at Ray or me or any other nurses. I had already

been trying to help Barry to transform from being a man in pain into a confident man ready to

move forward from his ex wife’s adultery and get involved in actively pursuing a good new wife.

         To refresh the Court and the Defendant, the pertinent literary genre definitions are:


1
  Author Apuleius; also called Lucius Apuleius Madaurensis; c. 124 – c. 170 AD)] was a Latin-language prose
writer, Platonist philosopher and rhetorician. He was a Numidian who lived under the Roman Empire and was from
Madauros (now M'Daourouch, Algeria).
2
  It is important to note that Barry also has an above average IQ, like I do, and that years ago, Barry studied art at
the Art Institute of Pittsburgh. He is a very talented artist and was actually interested in going with me to the
Cleveland Museum of Art.



                                                           3
Satire-

1:        a literary work holding up human vices and follies to ridicule or scorn

2:        trenchant wit, irony, or sarcasm used to expose and discredit vice or folly

                   Satire came into English at the beginning of the 16th century, and the meaning of
          the word has not strayed very far from its original sense. The initial uses were primarily
          applied to poems, and the term now has a broader applicability. Satire has a semantic and
          etymological overlap with both farce and lampoon. Farce ("a light dramatic composition
          marked by broadly satirical comedy and improbable plot") came into English as a synonym
          for forcemeat, meaning "finely chopped and highly seasoned meat or fish that is either
          served alone or used as a stuffing." Lampoon ("a harsh satire usually directed against an
          individual") is thought to come from the French lampons!, meaning "let us guzzle!" And
          satire is believed to trace back to the Latin satur, meaning "well-fed." (Merriam-Webster
          online dictionary, retrieved June 14, 2020.)

Parody-

1:        a literary or musical work in which the style of an author or work is closely imitated
          for comic effect or in ridicule. Example: wrote a hilarious parody of a popular song

2:        a feeble or ridiculous imitation. Example: a cheesy parody of a classic western

          First Known Use of parody as a noun was in 1607; as a verb in 1733. From Latin
          parodia, from Greek parōidia, from para- + aidein “to sing” - more at ODE. id.
          (Merriam-Webster online dictionary, retrieved June 14, 2020.)

Allegory-

          A story, poem, or picture that can be interpreted to reveal a hidden meaning,
          typically a moral or a political one. Example: “Pilgrim’s Progress is an allegory of the
          spiritual journey.”

          Origin: late Middle English: from Old French allegorie, via Latin from Greek allēgoria,
          from allos ‘other’ + -agoria ‘speaking’.
          (Oxford dictionary online, retrieved June 14, 2020)

Metaphor-

          A figure of speech in which a word or phrase is applied to an object or action to which it is
          not literally applicable. Example: "her poetry depends on suggestion and metaphor."
          (Oxford dictionary online, retrieved June 14, 2020)




                                                    4
       The Plaintiff’s writings contained references to the very serious concerns for regulatory

compliance, possible elder abuse and other issues that she filed official complaints about. That was

the para- + aidein “to sing” part from the definition of parody, as in “singing” to state inspectors

and investigators.

       Much of the typewritten part of the Facebook messages was mostly just random silliness

and day to day irrelevant information, which was supplemented with pictures, youtube videos and

websites, woven into a storyline with various underlying “themes.” That was the “stuffing” part

from the etymology of the word satire.

       An allegory is a “layered” story with a surface story and underlying stories or themes. It is

a literary work that conveys a hidden meaning-- moral, spiritual, or political, through the use of

symbolic characters and events. There are two types of allegories:


      ● Historical allegories: Writing in this category allegorizes historical figures and events.
        Writers of this kind of allegory may be using symbols to mask the true subject of their
        writing (for instance, to avoid censorship or punishment), or to effectively distill a
        complex history into a more simplified and vivid story that will engage readers on an
        emotional and aesthetic level. An example of this type of allegory is George Orwell's
        Animal Farm, which corresponds closely to the events of the Russian revolution.

      ● Conceptual allegories: This kind of allegory uses characters and events to symbolize
        abstract things rather than actual events or people. For example, it's common for writers
        of conceptual allegories to use characters that embody particular moral qualities, such as
        purity or love. Most religious and social allegories fall under this category, since they
        usually don't have to do with a specific person or historical event, but rather some virtue
        or vice more generally.

       It is possible, and not uncommon, for a writer of an allegory to draw elements from both of

these two types of allegory. (Mahler, Adam. "Allegory." LitCharts 5 May 2017.

https://www.litcharts.com/literary-devices-and-terms/allegory Retrieved June 14, 2020.)




                                                   5
        The story "The Tortoise and The Hare" is a well-known allegory. The moral of the story is

that the slow and steady approach symbolized by the tortoise wins in the end rather than the hasty

and overconfident approach symbolized by the Hare. Another example of an allegory, as it relates

to the Facebook messages in this case, is the book in the Old Testament of the Bible called “Song

of Solomon,” or “Song of Songs,” which is one of the main underlying themes in the Facebook

messages storyline.

        There are three types of satire:

                1. Horatian Satire- If the aim is only to make people laugh. Named after the
        Roman satirist Horace---who started writing satirical poetry in 35BC. His aim was largely
        to entertain with wry humour, wit and light-hearted mockery, avoiding negativity by
        refusing to place blame on others for any perceived misgivings. As such then, the objective
        of Horatian satire is to be clever and knowing, whilst evoking humour by exposing the
        peculiarities of human behaviour.

                2. Juvenalian Satire- Anger is the energy behind Juvenalian satire. The mission
        of Juvenalian satire is often to attack individuals, governments and organisations to expose
        hypocrisy and moral transgressions. Originating with Roman satirist Juvenal in the late 1st
        century BC, Gulliver’s Travels by Jonathan Swift is a noted example of this, largely in the
        way it tackles the absurdity and hypocrisy of politics and religion.

                 3. Menippean Satire Instead of focusing on societal norms, Menippean satire
        tends to satirise an individual character flaw and/or a particular personality trait, such as a
        mental attitude. For example, Lewis Carroll’s Alice in Wonderland is a Menippean satire in
        the sense that it is Alice’s curiosity which ultimately causes her plight. This type of satire
        takes its name from the Greek philosopher Menippus from the 3rd century BCE, and is
        much less aggressive than Juvenalian satire.

        The Plaintiff used both types of allegories in her writings-- historical and conceptual. It

was Juvenalian Satire that the Plaintiff used, fueled 100% by ANGER and a passionate concern

for the welfare of other human beings. Anger, or RAGE, is not an uncommon emotion for a

person to experience when their post traumatic stress disorder has been triggered and during other

times of mental health crisis.




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       At that point, on December 5, 2015, after my PTSD was triggered and in the aftermath of

the allegations of “neglect” against most of the nurses, I developed more themes in the storyline. It

would take a considerable amount of time for me to pick apart and explain each sentence that I

wrote and the motivating underlying story or “themes” behind the writing.

       Unfortunately, the printed out administrative legal proceeding exhibit version without the

videos and pictures reads like a science manual rather than as an allegory.

Here are most of the themes:

Themes of “Marital Love,” and Song of Solomon


       Quite honestly, I was not romantically or sexually attracted to Barry at any time, but was

just trying to help a coworker with love, counseling and humorous entertainment...until he found

the good new woman and loving stepmother that he and his children needed in their lives.

"I was a wall, and my breasts were like towers;
                Then I became in his eyes as one who finds peace.”
                        (Song of Solomon 8:10. Bible. New American Standard Version.)

       The very last youtube video I sent to Barry, on February 27, 2016, contained very beautiful

wedding vows.      https://www.youtube.com/watch?v=NAUJfnlBYvk&t=252s




                                                  7
       At that point, I knew based on a conversation with coworker Rhonda Wilkinson that Barry

had been sharing the Facebook messages with Rhonda and that Rhonda thought that her younger

daughter, Heidi Karash, was a perfect match for Barry because he was attracted to younger

women. I humorously referenced this in a Facebook message on January 27, 2016 at 5:50 am,

which I knew Barry would be sharing with Rhonda. I suspected Rhonda would encourage Barry

to share the whistleblower information with Barbara Raymond to save his job.

                        “I think you’ve shared my private messages with VIPs Barry. If so, please
               pass it on that from a menopausal female perspective, I suspect that the toilet paper
               in this place is the cheapest roughest toilet paper on the market and I’d appreciate
               an upgrade ASAP.”

       The identity of the coworker who shared the Facebook messages with the Defendant has

never been revealed. I have always suspected it was Rhonda Wilkinson, but I have no proof.

        The Song of Songs is one of the most misread books of the Bible. For many, the Song of

Songs is a mysterious allegorical story of a bride and groom, the love of God (groom) for Israel

(bride,) or the love of Christ (groom,) for the church (bride.) For others, the Song of Songs is

thought to be an extended metaphor for various sexual activities. Song of Songs is a poem that

comes to us from an entirely different world. In the song, sex and romance are viewed as good,

holy, and right. Today, many people think of sex and romance in over-sexualized, obscene and

pornographic terms. In our world, sex is often loveless, for sale, cheap and unholy. In the

Facebook messages that contained the photos and the youtube videos, I described love and sex in

metaphorical and beautiful ways to Barry to erase the feelings of pain that he felt from his ex wife’s

adultery. I hoped to help him move forward and not hold that pain against all women.




                                                  8
        In Song of Songs, sex is viewed as a return to paradise, to the garden of Eden and

innocence. (Song 4:16). It is a reverse of the curse. It leads us to a deeper understanding of

sacred love, not merely describing how to have sex.

        Sexual desire, nevertheless, plays an important role in the book. But it is part of a narrative

of a holy love, a love that is stronger than death (Song 8:6). It is the love that the groom has only

for his bride, and the bride’s love for her groom. This love desires each other fully and purely. And

it waits until the right time to awaken its love (Song 8:6). The Bible celebrates sexuality as a holy

and pure thing. The language of Song of Songs 7:3 teaches a bride and groom how to enjoy each

other’s bodies, or might actually be referencing God’s relationship with human beings. It’s a matter

of interpretation.

Religions Theme

           In the Facebook messages, I sent Barry a total of 40 youtube videos, the majority of

which touched on religious, spiritual, moral or philosophical subjects in one way or the other

either in the title, or the lyrics or the photographs. None were pornographic or obscene or hateful

or harassing.



Theme of the “UK Men’s Health” Drawings (To Avoid Queen’s Copyright Infringement)


        Regarding the “UK Men’s Health” sexual position drawings, the drawings themselves

were relevant. The website and the captions of the draing were what carried the storyline along.

Barry contributed some evidence for the Unemployment Compensation hearing, and I asked him

to read aloud what I had said with the drawing. The drawings were parody and allegorical, but




                                                   9
also metaphorical referencing the Song of Solomon in the King James Version Bible that I told

Barry in the Facebook messages I had left on Unit E on February 26, 2016 for him to read.

        In the United Kingdom, copyright rights to the King James Bible or (KJV), are “Crown

copyright.” Only a small number of publishers have entitlement to reproduce the KJV. Cambridge

University Press is responsible for administering the Crown's rights in the KJV in England, Wales

and Northern Ireland. Cambridge first published an edition of the Authorized Version in 1629 and

has been publishing it ever since. The Latin term 'cum privilegio' is printed on the title pages of

Cambridge editions of the KJV and the 1662 Book of Common Prayer (BCP), to denote the

charter authority or privilege under which they are published.

        The UK Men’s Health drawings were humorously intended as a Song of Solomon/King

James Bible copyright joke. In the storyline, because of the Queen’s copyright to the Song of

Solomon in the KJV version of the Bible on Unit E, I had to humorously substitute sexual position

drawings obtained from a website called “UK Men’s Health” in order to avoid copyright

infringement. “Men’s health” was itself a part of the joke, referencing that amongst Biblical

scholars, the KJV translation and most other western translations of the Bible is considered to be

patriarchally biased compared to the original writings. For example, Mary Magdalene is portrayed

as a prostitute instead of as the wife of Jesus. The female Apostle Junia became a man, Junius.

Even the Song of Solomon is patriarchally biased. According to the biblical account, Solomon had

700 wives and 300 concubines, yet he’s giving marital advice! The wives were described as

foreign princesses, including Pharaoh's daughter and women of Moab, Ammon, Edom, Sidon and

of the Hittites.




                                                  10
Theme of “Matt”


       “Matt” in the Facebook messages was symbolically representing Barry, and also myself,

and also Saint Matthew from the Bible, who was a government employee, and the Patron Saint of

Civil Servants. Matt happened to coincidentally also be the name of a real man whom I had briefly

dated, who like Barry, had been married for many years when he suddenly found himself suddenly

single and thrust into the misadventure of navigating and stumbling his way through the middle age

adult dating scene following his wife’s adultery.


       Much of the storyline was carried by photos and youtube videos, which the printed exhibit

does not show. There was a “dark and stormy” youtube video in reference to the “Divine

Comedy” written by Dante Aligheiri, and also referencing the “Peanuts” comic strip, which I will

explain later under another theme. The sin of Lust, in Latin luxuria, is listed among the Seven

Deadly Sins, which were used by Dante to craft his versions of Hell and Purgatory in The Divine

Comedy. Lust is an obsessive desire for sex, as well as sexual misconduct. The corresponding

Heavenly Virtue, the opposite to Lust, was Chastity (Castitas). In the Divine Comedy, the Deadly

Sin of Lust is considered the least offensive of the seven deadly sins. According to Dante, Lust

was a form of Divine Love for others perverted into an obsession with the flesh.


Theme of Me Wanting to Love Barry….or lust after him, have sex with him etc.

       “Barry,” was actually representing the male residents at the Pennsylvania Soldiers and

Sailors Home, who were men that as a prudent nurse I had “a desire to properly nurse men.”




                                                    11
Theme of Inappropriate Technology Usage

       I sent one email on March 2, 2016 from my work email account to Barry’s work email

account with one postal tracking number in it. The email was satire and a parody of the Facebook

message that I had previously sent to Barry exactly one month earlier, on February 2, 2016, which

contained the postal tracking number of the complaint that I had filed with the OAG.

Theme of Blasic’s Child Custody and the “Horrible” Letter

       The “horrible” letter that I wrote to the ex wife was in reference to the possibility that

Barry’s daughter might become the victim of a “sexual predator.” (A teenage boy.) I had alluded

that in the way that he, as a newly single middle aged man, had bungled in setting up his online

dating profile. In the email that Barry and his girlfriend sent to me, the girlfriend understood. In

real life, while he was bragging on Facebook about winning custody, it had simply not occurred to

Barry as a man that he would be leaving his young teen daughter home alone for many hours

while he was working. He was only focused on winning full custody from his adulteress ex wife.

As a woman, I knew that Barry needed to find a good new wife to handle this situation….and fast!

Apparently, I was not the only coworker who felt the same way. After all, coworker Rhonda

quickly set Barry up on a blind date with her daughter, whereas on October 4, 2015 in the

Facebook messages coworker Kris Raun thought it was way too early for Barry to start dating.

Theme of My Bralessness in My Home and Me as a Grandma with a Big Booty

        “Bra” and “bralessness” rhymes with “law” and “lawlessness.” I was referring to several

things with this. On the surface, it was regarding that time when I broke up with a man named

Paul who I had dated for a couple months and not actually had a relationship with. He was

insanely jealous of my ex husband, who is older and more financially secure than Paul was. Paul




                                                  12
wanted a relationship and told me I should go stand down on Wolf Rd. with red lipstick and no bra

on and I would be able to pick up the type of man I was looking for, which in his mind was older

and wealthy. I was also referencing the fact that there was no possible way to be in compliance

with the applicable regulations with the medication pass with only one nurse. And I was referring

to the “lawlessness” of possibly not being in compliance with the staffing requirements on Unit C

because they were not deducting for lunches and breaks and were pulling the certified nursing

assistant from Unit C to help with rounds on the skilled nursing unit, which is funded from a

different source than the Personal Care Unit. The big booty was referencing a “Big Booty

Cleaning Service” Youtube video that I sent to Barry, which was later referenced by his

anonymous girlfriend in the email on June 13, 2016.


       The braless references also go with the “Matt” storyline to the extent that in real life Matt

was trying to pick up a stepmother to take his daughters bra shopping, which is something he

asked me to do before he even met me or even knew that I was actually a woman. That was what

I wrote in the letter to Matt’s wife. I suggested to him that he should take them bra shopping

himself and ask the saleswoman in the lingerie department to assist them while he went to the food

court for a cup of coffee. When I was working on Unit C, the Personal Care Home, which I

considered to be the “holy grail” of regulatory compliance violations, I mentioned to Barry that I

was wearing “an extra heavy duty bra,” and even sent him a photograph of my extra heavy duty

bra strap. And I sent him a photograph of my feet in slippers. In other statements usually when I

was in my own home, I referred to myself as a “granny,” a “grandma,” etc. and mentioned that I

was not wearing a bra, and I mentioned my “big booty.”




                                                 13
Theme of My Alcohol Consumption in My Own Home


        These references were in part to provide some “stuffing” for when I thought I would be

referred for a fitness for duty examination by the Defendant. Was it possible that I had a drinking

problem? Would obtaining a urine sample from me be a good first step in the corrective and

progressive disciplinary process? On Unit C, the Personal Care Home, it was not unusual for the

ambulatory residents to be caught with alcohol in their possession, which would then be

confiscated by PSSH security. These residents are ambulatory and permitted to go out into the

community. Some even had cars. Alcohol consumption was not permitted. Therefore, the

residents were forced to walk out into the community to go to bars or liquor stores in a dangerous

neighborhood on the lower east side of Erie. They would sneak alcohol into the facility in very

creative ways such as by lowering Christmas lights down from a window to use as a rope to pull

the alcohol up to the second floor window! I have worked at other facilities where alcohol WAS

permitted with physician’s approval. Barry had never worked as a nurse at any other facility. We

had a short conversation one night about how much safer it would be for the residents if the

DMVA would just allow alcohol consumption as an activity that some of these residents would

readily attend.


Theme of Sexual Harassment Drama Within Dept. of Military and Veterans Affairs.

        On January 14, 2016, the acting Adjutant General of Pennsylvania, Joseph James, the most

senior officer in the DMVA chain of command, made the news when he took leave of absence,

with rumor being that it was because of allegations of sexual harassment.3          That event contributed


3
  Letter Accuses Pa. general of sexual harassment.
York Daily Record Newspaper, Published Feb. 1, 2016.
https://www.ydr.com/story/news/politics/2016/02/01/letter-accuses-pa-general-sexual-harassment/79629144/edit


                                                     14
to the workplace climate and culture during the relevant time period. Many employees, not just me,

were joking about sexual harassment in the DMVA leadership ranks and discretely speaking in the

workplace with “sexual innuendos.”

Theme of Ongoing Sexual Activity Drama Amongst the PSSH Residents

         Another factor that contributed to the “sexually charged” workplace climate and culture

was the increased sexual activity of some of the nursing home patients, many of whom were

cognitively impaired and possibly not capable of providing legal consent. (This was the subject of

Defendants Exhibit 27, the email entitled “Residents Rights,” sent to all nursing staff from Kevin

McLaughlin, Assistant Director of Nursing, (ADON) that I replied to, wherein I expressed her

concerns and questions up the chain of command and never received a response to prior to being

terminated.)

         There was NO policy regarding this activity, or if there was it was not available to nursing

staff on the “O” drive. Nurses were charting and passing in shift report such silly things as a male

resident touching his own penis while using the restroom! It is relevant to note that the following

year, a different DMVA nursing home was in the news in March 2017 for disciplining employees

for talking amongst themselves about concerns over resident/resident sexual assaults. 4


Retrieved February 17, 2019. Although this news story is not part of the official record in this case, it should be
acknowledged by this Court as “incontrovertible documentary evidence and incontestable physical facts.” The
existence and accuracy cannot be disputed. This pro se litigant has found no corresponding Pennsylvania rule to
Federal Rule of Evidence 201(b), which allows the court to take judicial notice of facts from “sources whose
accuracy cannot reasonably be questioned.”

4
  Documents reveal sexual assaults at Hollidaysburg Veterans Home; union says 39 suspended. WJAC News.
Published March 9, 2017.
https://wjactv.com/news/local/documents-reveal-sexual-assaults-at-hollidaysburg-veterans-home-union-says-39-su
spended Retrieved February 17, 2019 Although this news story is not part of the official record in this case, it
should be acknowledged by this Court as “incontrovertible documentary evidence and incontestable physical
facts.” The existence and accuracy cannot be disputed pursuant to Federal Rule of Evidence 201(b), which allows
the court to take judicial notice of facts from “sources whose accuracy cannot reasonably be questioned.”



                                                         15
Theme of Rumors About Workplace Sexual Activity Between Two Employees

       Other workplace sexual drama involved rumors of the Defendant’s sister, a certified nursing

assistant (CNA) named Denise Blauser, and another CNA, Charles Evans, supposedly having

sex on the job in the Unit D exit stairwell. Many PSSH employees were speaking amongst

themselves and questioning what sexual positions the Defendant’s sister and her lover could have

possibly used to have sex in the Unit D stairwell. The sexual positions that I sent to Barry were in

reference to that ongoing workplace drama in addition to being metaphors for the Bible book Song

of Solomon. (The drawings themselves were irrelevant; the captions were what carried the

storyline and referenced other themes.) I worked with those two CNAs just a few times when I

had come in early on the evening shift. They both seemed to perform very good patient care and

seemed to work well together as a team. Other than rumors, I have no actual knowledge of

Blauser/Evans having sex on the job.    But as it relates to this case, great scheduling lengths were

taken to ensure that the two CNAs, Blauser and Evans, would not be having sex in the workplace.

       One of the Facebook posts, on February 27, 2016 in the “Matt” storyline is a “Dark and

Stormy” youtube video. In addition to the Dante’s Divine Comedy theme, this was humorously

referencing “Charlie Brown,” (Charles Evans,) and the “Peanuts” comic strip. Charlie Brown’s

dog, “Snoopy,” had an imaginary persona as the “World Famous Author.” He often began his

novels with the phrase "It was a dark and stormy night..." In his book How to Read Literature

Like a Professor, author Thomas Foster stated that cartoonist Charles Schulz made Snoopy use this

phrase because "it was a cliché, and had been one for a very long time". (Foster, Thomas C.

(2003). How to Read Literature Like a Professor. Harper-Collins. p. 74.) That book was actually

amongst the many donated books on the bookshelves in the dementia unit at the time, as were




                                                 16
several KJV Bibles. Another book actually written by Charles M. Schultz is entitled, “Snoopy and

It was a Dark and Stormy Night.” I was referencing those books in the storyline. In Schultz’

book, Snoopy sends his book away to a publisher and it gets accepted. It is reproduced as a “book

within a book,” similar to an allegory, similar to the Facebook messages. The youtube video

features Cocktail Expert Tom Macy, who physically resembles Barry, and Matt, demonstrating

how to make a Dark & Stormy cocktail, similar to how Snoopy often made dark and stormy novel

attempts as his alter ego, “The World Famous Author.”

       A book within a book, a play inside a play, a picture in a picture, these are examples of

mise en abyme, a literary term the French writer André Gide borrowed from heraldry.

Pronounced “meez en a-beem,” it literally means “placed in the abyss,” or, more simply, “placed in

the middle,” and it was used to describe a shield in the middle of a shield, as in a coat of arms.

“Placed in the abyss” was in keeping with the Divine Comedy theme. On some date, I don’t

remember what date, I think I sent Barry pictures including the Abyss of Hell, the Royal Coat of

Arms stamped inside the KJV Bible, and a copy of a woodcut from around the year 1500,

showing the coat of arms of Maximilian I as King of the Romans, (Holy Roman Empire).




       Inferno. (Abyss of Hell). Illustration to the        Royal Coat of Arms stamped inside KJV Bible. .
       Divine Comedy by Dante Alighieri                     cum privilegio regie maieflatis




                                                       17
           Copy of a woodcut of the coat of arms of Maximilian I as King of the Holy Roman Empire

        The Queen’s copyright theme was also tied into this dark and stormy Charles

Evans/Charlie Brown theme. In Latin, “cum privilegio” means “with privilege.” In crude terms,

“cum” is the ejaculatory liquid that comes out of the penis during sexual activity. Amongst the

employees in the workplace, a joking “theme” was that if it was anybody else other than the

Commandant’s sister having sex on the job at PSSH, they would be terminated immediately. But

in this case, if the rumor was true, it was a “privileged activity” that did not result in termination for

Blauser and Evans, atleast not during that relevant time period. Public record seems to indicate that

neither Blauser nor Evans currently work at PSSH. They might have eventually gotten terminated.

I have no idea. What is relevant to this case is the elaborate means that were undertaken to adjust

the work schedule to accommodate that dramatic workplace situation to ensure the two employees

did not see each other in the workplace.

        Facebook shows that at some point prior to December 2018, Denise Blauser and Charles

Evans went public and legitimized their relationship and presumably no longer need to have sex on

the job in a stairwell, (if that PSSH workplace rumor was true.) Their first public Facebook photo

is in front of a Staircase. This might be humorously alluding to those workplace stairwell sex

rumors, or might be completely unrelated to this case. There is no way of knowing without

questioning Denise Blauser and Charles Evans.




                                                    18
(Blauser, left, and Evans, right. Looking happy)        (Defendant, left, and her sister, Blauser,
in front of a stairway in their first public Facebook   middle. Feb. 2014)
photo together as a couple. Dec. 2018.)



Letter to Ray Hamm; Theme of Drama Involving Civil Service Appeal filed in 2011.


         In the four page creative writing style letter written by myself and given to my coworker

friend/supervisor, Ray, I jokingly alleged workplace gender discrimination with him as my

immediate supervisor. Ray does have a history of being accused of sex discrimination in a civil

service appeal filed in 2011 by a former male nurse, Frederick Karash. (SCSC Appeal # 26915)

Fred Karash is the son of coworker Rhonda Wilkinson and the brother of Barry’s girlfriend, Heidi

Karash.

         The letter was intended as a “cheesy parody” of that SCSC appeal, similar to the “cheesy

parody of a classic Western” that Webster’s Dictionary uses as an example. I wrote the letter to

Ray under the guise of a complaint of sex discrimination against him who I worked under the

majority of the nights that I worked even though he technically was not my immediate supervisor.

Carolyn Williams was my actual official immediate supervisor. That was the allegorical “surface”

story. In the letter, I discreetly also informed my friend Ray of an underlying story...that I had




                                                           19
heard rumor that possible fraud was being committed by members of administration regarding the

reporting of staffing levels for reimbursement purposes, which they planned to pin on him if they

were ever caught. And I voiced my concerns to him for various regulatory compliance issues.

       Ray and I were “friendly” coworkers unlike Fred Karash and Ray Hamm, who were not

friendly coworkers. I had heard rumors about the case. Some coworkers thought that Ray was

discriminatory in his treatment of male nurses. Some thought that it hadn’t been fair for Ray to

have been accused of sex discrimination by Karash. They thought that Karash’s main issues

actually involved the nurse workload on the skilled nursing units, but that he filed the case as a

discrimination case because that was the only way that he could file a civil service appeal hearing

during the six month probationary period. To me, Ray did seem like a bit of an “alpha male,” but

not discriminatory. That is, perhaps, a matter of perspective and opinion.

       DMVA attorney Stephen J. Bushinski provided a copy of Karash’s civil service appeal to

me in 2016. That record indicates that Karash felt unfairly overwhelmed by his nursing

assignment, particularly when assigned as the only nurse on the skilled nursing units. Part of my

joke with Barry in the writings was that Ray was “in on it” regarding my joke. He was not. Ray

was a nice guy and a “joker” in the workplace, but he was NOT “in on” my satire and parody in

the creatively written letter. Ray’s reaction was genuine and the look on his face was hilarious at

first until he realized that I was just joking. Ray Hamm’s subsequent testimony at the civil service

hearing mirrors the exact feelings that he had in Karash’s appeal in 2011. Ray Hamm’s witness

statement indicates that he and I smoothed things over and worked together just fine.




                                                  20
                          Youtube Videos in the Facebook Messages

* Some of the youtube videos are no longer available at the links given in the Facebook messages,
but I was able to restore them by using a website archive retrieval website called “Wayback
Machine.” https://archive.org/web/




                                               21
December 31, 2015 9:46 pm https://www.youtube.com/watch?v=Byeg1LMu5mM
Video not available from Saturday Night Live (SNL) performance.
Archive available, but not playable.
https://web.archive.org/web/20160329184911/https://www.youtube.com/watch?v=Byeg1LMu5m
M

Similar video from David Letterman show. https://www.youtube.com/watch?v=ptNIW6XheuI




        Andrew John Hozier-Byrne, known professionally as Hozier, is an Irish musician, singer,
and songwriter. The official "Take Me to Church" music video features two men in a same sex
relationship, and highlights the injustices and violence perpetrated against members of the LGBT
community. It is also in reference to the child sex abuse within the Catholic church. Hozier uses
“his lover” as a metaphor for a religion. His commitment to their relationship is represented by the
devotion a faithful practitioner of this religion would display. The lyrics reference “to keep the
Goddess on my side She demands a sacrifice”




                                                 22
Lyrics- Take Me to Church Hozier
My lover's got humor She's the giggle at a funeral
Knows everybody's disapproval I should've worshiped her sooner
If the Heavens ever did speak She is the last true mouthpiece
Every Sunday's getting more bleak A fresh poison each week
"We were born sick", you heard them say it My church offers no absolutes
She tells me, "Worship in the bedroom" The only Heaven I’ll be sent to
Is when I’m alone with you. I was born sick
But I love it. Command me to be well. Amen Amen
Take me to church I'll worship like a dog at the shrine of your lies
I'll tell you my sins and you can sharpen your knife Offer me that deathless death
Good God, let me give you my life Take me to church
I'll worship like a dog at the shrine of your lies
I'll tell you my sins and you can sharpen your knife
Offer me that deathless death Good God, let me give you my life
If I'm a pagan of the good times My lover's the sunlight
To keep the Goddess on my side She demands a sacrifice
Drain the whole sea Get something shiny Something meaty for the main course
That's a fine looking high horse What you got in the stable?
We've a lot of starving faithful That looks tasty That looks plenty This is hungry work
Take me to church I'll worship like a dog at the shrine of your lies
I'll tell you my sins so you can sharpen your knife
Offer me my deathless death Good God, let me give you my life
Take me to church I'll worship like a dog at the shrine of your lies
I'll tell you my sins so you can sharpen your knife
Offer me my deathless death Good God, let me give you my life
No masters or kings when the ritual begins
There is no sweeter innocence than our gentle sin
In the madness and soil of that sad earthly scene
Only then I am human Only then I am clean Amen, Amen, Amen
Take me to church I'll worship like a dog at the shrine of your lies
I'll tell you my sins and you can sharpen your knife
Offer me that deathless death Good God, let me give you my life
If I'm a pagan of the good times My lover's the sunlight
To keep the Goddess on my side She demands a sacrifice
Drain the whole sea Get something shiny
Something meaty for the main course
That's a fine looking high horse What you got in the stable?
We've a lot of starving faithful
That looks tasty That looks plenty This is hungry work
No masters or kings when the ritual begins
There is no sweeter innocence than our gentle sin
In the madness and soil of that sad earthly scene
Only then I am human Only then I am clean
Amen, Amen, Amen


                                                23
January 1, 2016 8:56 am
Nancy Lewen To expound about paganism, believe it or not, when it comes to male/female roles
etc. there’s alot of similarities in paganism and Sikhism. Duality and male female energy. Equality
of strong intelligent women coupled with strong intelligent supportive men. A male Sikh friend in
Canada said there’s a saying in Punjabi that translates into something like smart men know how to
“ride the dragon” of feminine energy. https://www.youtube.com/watch?v=0vAybmBEtyE&t=84s




        This video begins with the man saying, “that day I saw you on the stairs. That bell was also
ringing. Remember?” The woman says, “how could I forget. How innocent we were.” Song
begins playing.

Lyrics- My Beloved. By Hungry Lucy- To Kill a King album.
I know you can’t say,
What is wrong why you’re feelin’ this way
Just remember when you’re feelin’ so down,
You can always put on your crown
My beloved, Is that a tear in your eye?
My beloved, What is making you cry?
My beloved, Will you walk with me,
To the place, Where we can be free.
Darling it’s getting so late.
We should go home don’t tempt fate.
Find it in yourself to love me again.
Don’t be afraid we will win.
You didn’t do the things that you thought.
It isn’t true the lies can’t be bought.
I understand you’re feeling so cold.
Stay with me as we grow old



                                                24
January 1, 2016 9:09 am
Nancy Lewen Sikhs and Hindus, like Pagans, recognize and worship the God and Goddess that is
inside each of us. It’s a totally different concept from Christianity. Probably a bit much for a text
message. Definitely more than one of the guys I dates last year could handle having grown up
Catholic in Erie, PA. The college professor who grew up in Lebanon understood the concept. The
guy who grew up in South Africa understood the concept. He was the one who had a five year
old son and three teenage daughters he thought I’d make a good stepmother for! HA!
https://www.youtube.com/watch?v=RzPKVFYwcVs&t=107s




Mātā Amritānandamayī Devī, better known simply as Amma, is an Indian Hindu spiritual leader,
guru and humanitarian, who is revered as a hugging saint by her followers.

Lyrics- He Ma Durga by Donna DeLory from album The Lover & the Beloved
He ma durga Jay jai ma (2 x)
He ma durga I want to love through your love
He ma durga I want to feel what you feel
He ma durga I want to see beyond this illusion To what is real
Om jayanti mangala kali
Bhadra kali kapalini
Durga kshama shiva dhatri
Swaha swadha namastute
All-conquering mother, remover of darkness
Beyond time, reliever of difficulties, loving, forgiving
Supporter of the universe
I offer my respect and devotion




                                                 25
January 3, 2016 8:23 am
Nancy Lewen I know you are artistically inclined Barry. The Cleveland Museum of Art has an
Egyptian Art exhibit coming soon and they also have Baroque style religious art. My question is,
are you evolved enough to ever want to go do something like this, purely as friends, with a middle
aged super nerdy gray haired and wrinkled fat chick? It would obviously be about a 10 hour day
trip, in the Spring. I’d prefer that you drove because I’m like that, but I may ask that we take my
car since I don’t get enough road trips these days to blow out the carbon. I find the hidden
messages in Baroque and Reformation era art very interesting. Artists from that very dangerous
era in European history were pure genius to so cleverly hide the truth in plain sight.
https://www.youtube.com/watch?v=RKcJvjP9zgY&t=123s




Dr. Beth Harris and Dr. Steven Zucker discuss the metaphors in this art as well as
“metamorphoses and transformation.” This is Saint Teresa's description of the event that Bernini
depicts: "Beside me, on the left, appeared an angel in bodily form.... He was not tall but short, and
very beautiful; and his face was so aflame that he appeared to be one of the highest rank of angels,
who seem to be all on fire.... In his hands I saw a great golden spear, and at the iron tip there
appeared to be a point of fire. This he plunged into my heart several times so that it penetrated to
my entrails. When he pulled it out I felt that he took them with it, and left me utterly consumed by
the great love of God. The pain was so severe that it made me utter several moans. The sweetness
caused by this intense pain is so extreme that one cannot possibly wish it to cease, nor is one's soul
content with anything but God. This is not a physical but a spiritual pain, though the body has
some share in it—even a considerable share."



                                                  26
January 7, 2016 9:20 am
Nancy Lewen I don’t really need to know where Wolf Rd. is. I deactivated my online dating
account and decided to go get braless in my swimsuit in the pool at FitnessU. There’s usually alot
of old men in the hot tub around this time of day.
https://www.youtube.com/watch?v=oiNaadVOQEM&t=15s




January 7, 2016 2:40 pm
https://www.youtube.com/watch?v=CW48pBgsDLE




                                                27
Lyrics Lady Magdalene - Neil Diamond
The man on the right is a man undone He'd give you his soul
If you asked him for some A child in his way for he needs to believe
That love is a song for each man to sing
The man on the left is a prize un-won A candle unlit and a song unsung
Believing that love is a dreamer's dream The man on the left The me in between
Lady Magdalene I can hear your distant trumpet Calling from the morning mountain
Singing to the passing river Take me home
Show me peaceful days Before my youth has gone
The man in between waits between the two Not hearing the lie and not seeing the true
Unknowing what is and denying what seems And there he will sleep The man in between
Lady Magdalene I can hear your distant trumpet Calling from the morning mountain
Singing to the passing river Take me home
Show me peaceful days Before my youth has gone
Lady Magdalene Make the sound of silent thunder
Calling from the lips of Abraham Make a sound that we may wonder
Where we are Take us to your soul For we have wandered far
The man on the right was a man undone The man on the left like a prize unwon
And God only knows What their time will bring
Or what will become Of the man in between

January 8, 2016 2:06 pm
Nancy Lewen Youtube is a cheap travel method.
https://www.youtube.com/watch?v=RO3yFPXBjuc
**Video is unavailable, archived version is unavailable, but Google search indicates that it was a
video about Knights Templar symbolism.




                                                 28
January 8, 2016 2:09 pm
Nancy Lewen https://www.youtube.com/watch?v=yzCxtykCQoc
**Video unavailable. Archived version unavailable. Google search indicates it was called Mary
Magdalene The Royal Bloodline.




January 8, 2016 2:16 pm
Nancy Lewen My neighbors were from Northern Ireland and actually knew some of the hunger
strikers. Bobby Sands poems are inspiring.
https://www.youtube.com/watch?v=hHWy-MyMAtw&t=56s




                                              29
                          THE RHYTHM OF TIME
                           By Bobby Sands, MP.

   There’s an inner thing in every man, Do you know this thing my friend?
          It has withstood the blows of a million years, And will do so to the end.
           It was born when time did not exist, And it grew up out of life,
          It cut down evil’s strangling vines, Like a slashing searing knife.
              It lit fires when fires were not, And burnt the mind of man,
        Tempering leadened hearts to steel, From the time that time began.
         It wept by the waters of Babylon, And when all men were a loss,
      It screeched in writhing agony, And it hung bleeding from the Cross.
            It died in Rome by lion and sword, And in defiant cruel array,
          When the deathly word was ‘Spartacus’ Along the Appian Way.
       It marched with Wat the Tyler’s poor, And frightened lord and king,
       And it was emblazoned in their deathly stare, As e’er a living thing.
                It smiled in holy innocence, Before conquistadors of old,
           So meek and tame and unaware, Of the deathly power of gold.
     It burst forth through pitiful Paris streets, And stormed the old Bastille,
      And marched upon the serpent’s head, And crushed it ‘neath its heel.
         It died in blood on Buffalo Plains, And starved by moons of rain,
      Its heart was buried in Wounded Knee, But it will come to rise again.
        It screamed aloud by Kerry lakes, As it was knelt upon the ground,
               And it died in great defiance, As they coldly shot it down.
          It is found in every light of hope, It knows no bounds nor space
           It has risen in red and black and white, It is there in every race.
             It lies in the hearts of heroes dead, It screams in tyrants’ eyes,
 It has reached the peak of mountains high, It comes searing ‘cross the skies.
            It lights the dark of this prison cell, It thunders forth its might,
It is ‘the undauntable thought’, my friend, That thought that says ‘I’m right!’




                                       30
January 8, 2016 at 2:39 pm
Nancy Lewen Here’s an old Welsh style heavy metal type song about Mary’s house in the hollow
of the white hazel and the church of the red cave, which is because a woman’s heart is behind the
hollow between the boobs. I didn’t mention that to that Paul guy. That said, I need to go put a bra
on now and get dressed to go pick up my grandson from the bus stop.
https://www.youtube.com/watch?v=19a0GAOg6d4




        “Llanfairpwllgwyngll” is a town in Wales. Literally translated, the name means: [The]
church of [St.] Mary (Llanfair) [of the] pool (pwll) of the white hazels (gwyn gyll) near [lit. "over
against"] (go ger) the rapid whirlpool (y chwyrn drobwll) [and] the church of [St.] Tysilio
(Llantysilio) of the red cave (-ogo[f] goch).

Red Cave by Yeasayer Recycled Love Songs
  I went out past the willow and the well, Caught my breath upon the hill.
  At the edge of the domain, And I went down, And further down, And when I got up,
  I'm at the red cave.
  And with that sound, As if I had been put under a spell, She led me to her abode
  Despite a winter's day, Mary's house in the hollow of the White hazel rapid whirlpool
  And the church of hurricane. I'm so blessed to Have spent that time
  With my family and the friends I love with my short life I have met
  So many people I deeply care for.




                                                  31
January 8, 2016 at 2:44 pm
Nancy Lewen https://www.youtube.com/watch?v=vndb3107-fg/
**Video unavailable. Archived version unavailable. Unable to find on Google.
This is the only video that Plaintiff has not been able to retrieve. But an email sent by Blasic and
his then new anonymous girlfriend on the evening after the Civil Service hearing indicates that
the video was called “Big Booty Cleaning Service” which they “got some good laughs off of.”
(Exhibit 3)


January 9, 2016 7:26 am
Nancy Lewen I’m in the ASSisted living parking lot with my engine running if you’d like to talk.
Or better yet, go serve the coffee. https://www.youtube.com/watch?v=XcxKIJTb3Hg&t=17s




                                                  32
January 9, 2016 at 3:33 pm
Nancy Lewen Len said you need relieved at 7:00 Larry, but Len didn’t elaborate what type of
relief you need so I can only assume you need to go
home.https://www.youtube.com/watch?v=cXu7N86K4zE&t=71s




        The Khajuraho temples feature a variety of artwork, of which 10% is sexual or erotic art
outside and inside the temples. The temples were damaged greatly by Muslims who
misunderstood and found the temples to be profane.


January 11, 2016 5:09 pm
Nancy Lewen If you thoroughly understand what it is that you need to do at your PDC meeting,
post this on facebook. https://www.youtube.com/watch?v=QSWBX72rDe4




                                                33
January 11, 2016 9:00 pm
Nancy Lewen You obviously have a need Barry. FYI- A family of six used to live in my house.
There’s four bedrooms. You are all certainly welcome, but I don’t know what the plan is. Please
enlighten me one of these days, ok? Tonight might not be a good night to enlighten me because I
didn’t get much sleep today. I’m also drinking rum and slightly giddy. So just let me know one of
these days what your exact needs are and I’ll help you however I can. PS- all joking aside, I love
you. Pure unadulterated love from a dark rum drinking sleep deprived giddy woman.
https://www.youtube.com/watch?v=GqhIxrI5Lyk




       The lyrics of this song are from the Bible book 1 Corinthians 13, about “love” which is
       often read at wedding ceremonies.




                                                34
1 Corinthians 13 New International Version (NIV)


13 If I speak in the tongues of men or of angels, but do not have love, I am only a resounding gong
or a clanging cymbal.

2 If I have the gift of prophecy and can fathom all mysteries and all knowledge, and if I have a
faith that can move mountains, but do not have love, I am nothing.

3 If I give all I possess to the poor and give over my body to hardship that I may boast, but do not
have love, I gain nothing.

4 Love is patient, love is kind. It does not envy, it does not boast, it is not proud.

5 It does not dishonor others, it is not self-seeking, it is not easily angered, it keeps no record of
wrongs.

6 Love does not delight in evil but rejoices with the truth.

7 It always protects, always trusts, always hopes, always perseveres.

8 Love never fails. But where there are prophecies, they will cease; where there are tongues, they
will be stilled; where there is knowledge, it will pass away.

9 For we know in part and we prophesy in part,

10 but when completeness comes, what is in part disappears.

11 When I was a child, I talked like a child, I thought like a child, I reasoned like a child. When I
became a man, I put the ways of childhood behind me.

12 For now we see only a reflection as in a mirror; then we shall see face to face. Now I know in
part; then I shall know fully, even as I am fully known.

13 And now these three remain: faith, hope and love. But the greatest of these is love.




                                                   35
January 13, 2016 12:11 pm
Nancy Lewen https://www.youtube.com/watch?v=cV0tCphFMr8
**Video not available. Archived link-
https://web.archive.org/web/20160316105556/https://www.youtube.com/watch?v=cV0tCphFMr8




January 16, 2016 9:32 pm
Nancy Lewen https://www.youtube.com/watch?v=rUam2NeGZ_0
**Video no longer available. Archived link-
https://web.archive.org/web/20151124211607/https://www.youtube.com/watch?v=rUam2NeGZ_0




      Sam Smith singing “Stay With Me” Live on SNL.



                                          36
January 19, 2016
Nancy Lewen If you’d be interested in a second date, I’d like to go to Fallingwater. I don’t know
if you’ve ever been there, but it’s a famous Frank Lloyd Wright house that’s south of Pittsburgh
and definitely a summer time day trip, or ideally a Fall trip to enjoy the leaves changing colors. The
house is all cantilevers built over a waterfall and really peaceful and interesting. Angelina Jolie
actually took Brad Pitt there as a gift. I haven’t been there since I was a kid. I would probably try
to hold hands. https://www.youtube.com/watch?v=pSbjVgpXDoA




January 20, 2016 9:12 am
Nancy Lewen I took two Anthropology courses when I was working on my bachelor’s degree. I
learned about this place in Ohio, and noticed the sign when I was on a road trip to Texas once. If
you change your mind about online dating, I’d like to go to this serpent mound place for a third
date. It’s interesting, educational, and I’m not sure but I think it may be free admission, which is
my kind of date. https://www.youtube.com/watch?v=ffl28xZfdog **Video unavailable.
Archived version not available. Google search indicates it was a serpent mound video.




                                                 37
January 24, 2016 4:07 pm
Nancy Lewen https://www.youtube.com/watch?v=ADuSnt6PFn8




January 24, 2016 6:19 pm
Nancy Lewen Just got off the phone with Ken. I feigned friendship chemistry. Cha ching. I don’t
really need the extra income to qualify for my mortgage, but I figure it won’t hurt. (My car is paid
for, my credit card usage isn’t out of control, and my only other bill is my student loan.) Life has a
way of coming together. Especially for my friend Ken Langford this evening.
https://www.youtube.com/watch?v=PtK_86KSm60&t=22s




                                                 38
I Envy the Photons- Lesser Birds of Paradise
The laws of physics always Push you around And gravity's presence always Brings you down.
Invite the vibrations And The waves they employ, Submit to these motions, Try not to avoid
The oceans of context. They're Swell from within And the slippery meanings That walk on your
thins… Empower the Adam so they Know just what to wear, Explosive deep mushrooms
Try not to split hairs Groovy molecules always Know just what to say:
"I envy the photons That light up the way From my lands to your lands And The s***e in between
How They bounce off your eyelids And They move through your dreams"
Invite the vibrations And the waves they employ, Submit to these motions, And try to avoid
Those laws of physics always Pushing you around And that gravity's presence always
Letting you down. Groovy molecules always Know just what to say...

January 26, 2016 6:10 am
Nancy Lewen https://www.youtube.com/watch?v=NuXMCLLCyAE




Believe- Trans-Siberian Orchestra
So after all those one night stands You've ended up with heart in hand
A child alone On your own Retreating
Regretful for the things you're not And all the things you haven't got
Without a home A heart of stone lies bleeding
And for all the roads you followed And for all you did not find
And for all the dreams you had to leave behind
I am the way I am the light I am the dark inside the night
I hear your hopes I feel your dreams And in the dark I hear your screams
Don't turn away Just take my hand And when you make your final stand
I'll be right there I'll never leave And all I ask is you Believe
Your childhood eyes were so intense While bartering your innocence
For bits of string The grown-up wings you needed
But when you had to add them up You found that they were not enough

                                               39
To get you in And pay for sins
I never wanted to know Never wanted to see
I wasted my time 'Til time wasted me
I never wanted to go Always wanted to stay
'Cause the person I am Are the parts that I play
So I plot and I plan Hope and I scheme
To the lure of a night Filled with unfinished dreams
And I'm holding on tight To a world gone astray
As they charge me for years I can't pay Yeah


January 30, 2016 9:55 pm
Nancy Lewen I emailed Ray last night and put in for the position of full time charge nurse/hostess
of the cuddle room when it officially opens. Slupski gets to be in charge of the lighting. I
recommended Barry White music to both him and Ray. I was just laying here with my cats in my
own cuddle room thinking that Chris Botti music might be more appropriate.
https://www.youtube.com/watch?v=CREYEKv7T4
**Video link no longer works. Archived version not available. Google search indicates it was
Barry White- Practice What You Preach.




                                                40
January 30, 2016 9:56 am
Nancy Lewen https://www.youtube.com/watch?v=OXFiugVo7JU




January 30, 2016 9:58 pm
Nancy Lewen Here’s Chris Bottie and Sting together in concert.
https://www.youtube.com/watch?v=DpYYJgvgDmo




                                              41
Shape of My Heart lyrics
He deals the cards as a meditation And those he plays never suspect
He doesn't play for the money he wins He don't play for respect
He deals the cards to find the answer The sacred geometry of chance
The hidden law of a probable outcome The numbers lead a dance
I know that the spades are the swords of a soldier I know that the clubs are weapons of war
I know that diamonds mean money for this art But that's not the shape of my heart
He may play the jack of diamonds He may lay the queen of spades
He may conceal a king in his hand While the memory of it fades
I know that the spades are the swords of a soldier I know that the clubs are weapons of war
I know that diamonds mean money for this art But that's not the shape of my heart
That's not the shape The shape of my heart
If I told her that I loved you You'd maybe think there's something wrong
I'm not a man of too many faces The mask I wear is one
But those who speak know nothing And find out to their cost
Like those who curse their luck in too many places And those who fear are lost
I know that the spades are the swords of a soldier I know that the clubs are weapons of war
I know that diamonds mean money for this art But that's not the shape of my heart That's not the
shape of my heart That's not the shape The shape of my heart


February 9, 2016 8:04 am
Nancy Lewen This is exhubby’s kampung (village) in Malaysia.
https://www.youtube.com/watch?v=dPlq-kq8B2w




This video is about a Sikh Gurdwara (religious temple) in Mantin Malaysia whose well water is
rumored to contain magical healing powers.



                                                42
February 12, 2016 8:02 am
Nancy Lewen https://www.youtube.com/watch?v=SYIV4qXsXf0




Beyond Good and Evil is a comprehensive overview of Nietzsche's “mature” philosophy.

February 12, 2016 8:10 am
Nancy Lewen If I took in a mature responsible college student boarder, one of the responsibilities
in addition to yard work might be to empty the cat litter boxes in exchange for free rent. I’m an
eccentric cat lady, have two cats already, and may even get another one. I lived in East Anglia UK
in the 1908’s and had Irish neighbors, what can I say.
https://www.youtube.com/watch?v=y_zhZeRNfSg




                                               43
       Spiral Dance - The Goddess and the Weaver Lyrics Album: Woman of the Earth

Arachnia weaves and she weaves so well
She weaves a passage where the Gods will fly
Athena laughs as she casts her spell
While she watches from her loom on high
Athena, Athena Goddess-born lady, you're a jealous one
And Arachnia knows that you were watching her
Waiting for her work to be undone
Athena, have you set the quest
Will you take the weave and will you break the weft
Or will you let this lady spin her tapestry
Of a tale untold and then set her free?
Arachnia weaves and she weaves so well
She weaves a passage where the Gods will fly
Athena laughs as she casts her spell
While she watches from her loom on high
Arachni, Arachnia The Goddess Athena's got a quest for you
And you must weave a story of the Gods that rule
In all their mystery and you must tell it true
So Arachnia's woven the seven moons
She's spun the silver thread upon an applewood loom
And she's told the story of the Gods that rule
In all their mystery and yeah she's told it true
Arachnia weaves and she weaves so well
She weaves a passage where the Gods will fly
Athena laughs as she casts her spell
While she watches from her loom on high
So Athena came to earth disguised as a crone
To gaze upon the tapestry this mortal women's sewn
And in and out the fabric that stretched across the loom
The sins and the secrets of the Gods were shown
Athena, Athena Goddess-born lady, you're an angry one
And as you spin your spell around Arachnia
To shift her shape into a weaving one
And as Arachnia sits and weaves upon her web
She casts her mind back and she remembers when
She told the story of the Gods that rule In all their mystery and she told it true
Arachnia weaves and she weaves so well She weaves a passage where the Gods will fly
Athena laughs as she casts her spell
While she watches from her loom on high
Arachnia weaves and she weaves so well
She weaves a passage where the Gods will fly
Athena laughs as she casts her spell
While she watches from her loom on high


                                            44
February 19, 2016 1:56 pm
Nancy Lewen “Everyone jump upon the peace train Come on the peace train Get your bags
together Go bring your good friends too ‘Cause it’s getting nearer It soon will be with you” ~ Cat
Stevens (Yusaf Islam) https://www.youtube.com/watch?v=HExjPn547Z0




February 19, 2016 4:21 pm
Nancy Lewen In a lecture at the Pentagon last year, this Sikh woman beautifully explains the
concept of Seva, (selfless service.) It’s worth watching the whole video.
https://www.youtube.com/watch?v=6E7BSZkw7sc




                                                45
A SIKH SERMON AT THE PENTAGON: SEVA, THE CALL OF OUR TIMES

Waheguru Ji Ka Khalsa, Waheguru Ji Ki Fateh.

Thank you to the Pentagon Chaplain for gathering us here for the Sikh celebration of Vaisakhi. I am honored
to reflect with you on the Sikh tradition of service – seva – and what it means for us, here and now.

In this moment, we know that children are lying beneath the rubble of the earthquake in Nepal without
chance of rescue. Families are mourning as the smoke clears from another ISIS car bombing. The
Supreme Court is debating recognition of the human heart to love anyone without reference to gender or
sexual preference. And just forty minutes away from Washington, a city is burning in the wake of another
killing of a young, unarmed black man in what our President has called – from Ferguson to Staten Island to
Baltimore – “a slow-rolling crisis.”

We may be tempted to turn away from these crises of our time. But the Sikh faith calls us to face the fires
of life, no matter how they rage – and respond. Service is the core of Sikh practice, but it’s not the kind of
service we think we know. Seva is not safe. Seva is not easy. Seva means selfless service. To pursue a
life of seva is to walk boldly into the hot winds of the world with a saint’s eyes and a warrior’s heart – and
draw from a deep well of love to pour our body, breath, and blood into others.

This kind of selfless service requires the courage of Mai Bhago, the 17th century Sikh woman warrior who
told forty soldiers who abandoned their post during a great battle: “You will not hide from the fire. You will
return to the fight – and I will lead you.” Donning a turban and mounting a horse with a sword in her hand,
she led them when no one else would. Because seva means becoming the one you are waiting for.

I believe that seva is the call of our time. Let me show you why.

Five centuries ago in South Asia, Guru Nanak, our first teacher, found himself in a similar time of crisis – a
time of violence between Hindus and Muslims, denigration of women, and cruelty towards the poor. One
day, the story goes, Nanak disappeared by the river for three days; people thought him a dead man, a
drowned man, but he had experienced a divine revelation and emerged with a single profound utterance on
his lips: Ik Onkar, God is One; we are One.

Guru Nanak was birthed anew. He began singing a song of Oneness – music and poetry meant to lift us
into sacred experience. When we pray like that, our ego – haumai, the voice inside us that separates self
from selflessness – starts to quiet. And something marvelous happens: we fall in love.

“I see no stranger,” Guru Nanak said. “I see no enemy.” When we are in love, we begin to see with new
eyes: we look upon the faces of people who are different from us and say: Brother. Sister. I cannot live if
you are dying. I cannot stand by if you are suffering. That kind of love is revolutionary. When we serve the




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child, the parent, the family, the community, the country, we do so not out of obligation but because we love
them; and in turn, that kind of love saves us.

Only through seva do you attain God, Guru Nanak taught us. That means: we pray to remember God
(simran) but we serve to realize God (seva). That’s why the way we serve matters, not with stress or
despair, but with joy and boundless optimism called Chardi Kala. In fact, every Sikh gurdwara (house of
worship) contains a prayer hall and a langar hall, a place where we cook and serve free meals, so that we
can practice serving selflessly.

But remember, seva is not safe. “If you want to play the game of love with me,” says Guru Nanak, “then
step onto my Path with your head on your hand.”

Our first teacher called us to play the game of love. Two hundred years later, our tenth teacher showed us
how. In 1699, Guru Gobind Singh called Sikhs to a clearing in a place in Northern India called Anandpur
Sahib. It was another time of crisis. The Sikh community was struggling to survive onslaught at the hands
of Mughal rulers. Our numbers were dwindling, and the future was dark.

There stood the Guru – a warrior dressed in a tall turban, sword in hand, often seen with a falcon on his
shoulder. He rose before the thousands with fire in his eyes, and called out: “Who among you is ready to
give your head for the love of God and one another?” The crowd was silent. The wind rustled, and the
people did not move – until one brave soul, Daya, stepped forward.

The Guru took Daya inside a tent and a few moments later, emerged with his sword dripping with blood, and
called: “Now, who else is ready to give their head for love?” Not a word was spoken. The wind rustled, and
the people did not move. Until courage stirred within another, Dharam, and he stepped forward and entered
the tent. The Guru emerged once again with the same call, again and again, until five had offered their
lives. The Guru appeared once more, but this time, he opened the tent for all to see – and there they stood.
They were all alive and well, but they were changed.

“These are my Panj Pyare,” said the Guru. “My five beloved ones. These are the ones who were willing to
offer their body, breath, and blood for the sake of love. The death of their egos has birthed them anew. The
Guru gave them new names and anointed them, and was anointed by them in return.

On that day, we as a community were also birthed anew. We too shed our old separate names and were
given new names – Singh and Kaur, lion and lioness – to honor our equality and courage. We received the
gift of five articles of faith, including long uncut hair, which men and some women wrap in a turban, so that
we may never hide from the call to serve again.




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That is the story of Vaisakhi. That’s why we are here today – to celebrate our birth as the Khalsa, a spiritual
sister and brotherhood, a collective body of beloved ones.

Now, I have a confession. As a little girl, this story always made me tremble. After all, isn’t it madness to
give up your life like that? But today, I see the story’s meaning with new eyes. Seva springs from a love so
deep we would give our lives for it.

When I gave birth to a baby boy a few months ago, and held my son for the first time, I knew that I would
give my life for him. I looked at my own mother and saw all the ways she had poured her body, breath, and
blood into me. What greater bravery, what deeper love? If the story of Vaisakhi calls us to serve selflessly,
then perhaps motherhood is our most ancient and profound model. So today, as we celebrate Vaisakhi, let
us honor all of those who teach us the truth of seva, the same way mothers and fathers show devotion to
the lives of their children and their children after them.

Let us honor our elders who teach us how to hold fast to our faith in the fire – like my grandfather Captain
Gurdial Singh who followed seven generations before him and served in the military, fighting on the
frontlines in World War II against Hitler’s armies. When his British commander told him to remove his
turban, he refused, saying, “My turban represents my faith, and I cannot serve without faith.” So he went to
war and when German aircraft swooped down and shot his best friend, he did not run. He wrapped his
friend’s wounds with the cloth of his turban and brought him home. Because seva means leaving no one
behind.

Let us honor the faith and fearlessness of all our uniformed soldiers, including the Sikh Americans in this
room: Corporal Simran Preet Singh Lamba, Captain Tejdeep Singh Rattan, Colonel Tina Kaur Sodhi, Staff
Sargent Bree Kaur, Petty Officer Geena Kaur Sidhu, Senior Airman Jasreen Kaur, Private Sukhreet Kaur,
and Lieutenant Jaspreet Kaur Saini.

Let us honor Major Kamal Singh Kalsi, a decorated hero who when treating the wounded in Afghanistan,
was moved to tears when one young bleeding soldier looked at him and said, “Thank you, brother.” Because
seva inspires love in others.

Finally, let us honor all the brothers and sisters in this room who are fighting for justice with modern-day
swords – the lawsuit, the camera, the megaphone – not to vanquish others but to reconstitute the cultures
and institutions that separate us.

When Sapreet Kaur steers the Sikh Coalition to become the voice of a whole community, when Rajdeep
Singh fights for our civil rights in the halls of power, when Gunisha Kaur sheds light on human rights
atrocities, when Gurjot Kaur files lawsuits to challenge policy, when Ava Master uses online tools to tell our
stories on the open Internet, when Ravi Bhalla responds to those in need as City Councilman, when




                                                        48
Harinder Kaur Khalsa swears to serve her community as Deputy Sheriff, when Amandeep Singh Sidhu
speaks truth to power in court, when Simran Jeet Singh wields his mighty pen, when Inni Kaur expresses
the strength of truth in her voice, and when this week, my friend and brother Deeptej Singh stood with
renowned LGBTQ advocate Sharon Groves just steps away from the Supreme Court to pray for the equality
of all people – they show us what seva looks like in America today.

Because seva means standing up for the dignity of every person, including those who do not look like us.

That is why my friend Mayor Steve Scafiddi is here today. He has stood up for our community ever since a
white supremacist opened fire in a Sikh house of worship in his city three years ago, leaving six people
dead. The death toll would have been higher – it should have been higher – but one of his city’s police
officers took seventeen bullets defending our community. Lt. Brian Murphy, a former marine, was willing to
offer up his life to save people who did not look like him.

When Lt. Murphy was shot to the ground that day, he thought of the people inside the gurdwara and kept
moving in order to give the gunman a target. When he felt death lulling him to sleep, he thought of his wife
and children and willed himself awake. And when help finally arrived and he was rushed to the hospital, he
kept asking after his fellow police officers. His service was not any single act; it came from his way of
being.

Since then, Lt. Murphy has come to know and love the community he nearly died for. When I told him I was
coming to the Pentagon, he said, “Anyone who has been in the military knows that when we greet one
another we ask: ‘Have you been in the service?’ Service is at the forefront of the Sikh religion. I don’t know
of any other principles needed more by a prospective serviceman.'”

Sikh values are American values. The Sikh tradition of service captures the best of America.

Seva calls us to look upon the faces of people who are different from us as our own brothers and sisters –
whether Black, Latino, LGBTQ, Muslim or Sikh.

Seva calls us to the burning city streets, to the steps of the Supreme Court, to the halls of the Pentagon,
so we can show that all lives matter.

All lives matter. Which brings us back to where we began: Seva is the call of our time.

When I look at my son and all I hope for him, my throat catches. I know if he chooses to love like that, to
serve like that, he will not be safe. But it is the only way to truly live.

“Courage is fear that has said its prayers,” says my friend Bishop Gene Robinson.




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So I draw my son close and whisper in his ear the prayer my grandfather taught me: “Tati vao na lagi” – the
hot winds cannot touch you, not when you walk the path of true service. Even if you are beaten down. Even
under a rain of fire. Even if you are bleeding – in the birthing room or on the battlefield – the hot winds
cannot touch you. Because you are with the holy, and of the holy. You are with God, and of God. You are
with love, and of love. And that kind of love saves us all. Waheguru Ji Ka Khalsa, Waheguru Ji Ki Fateh.

February 19, 2016 10:06 pm
Nancy Lewen British humor. https://www.youtube.com/watch?v=O_-h7ihvGa8




February 21, 2016 8:17 am
Nancy Lewen https://www.youtube.com/watch?v=iL7ndxWgW5A




                                                    50
Lyrics Maiden, Mother & Crone The Sword
The maiden sitting by her pool
Was first to hear my pleas
As she looked into the water
She recited these words to me
Walk not down that road
I can not tell you where it goes
Ask me no more questions
Some things you weren't meant to know
The mother toiling in the fields
Her apron full of seeds
As she dropped them to the earth
She recited these words to me
Walk not down that road
I can not tell you where it goes
Ask me no more questions
Some things you weren't meant to know
The greater mysteries
Cannot be shown
Divided by three
The are the maiden, the mother, the crone
Finally I found the crone
Walking through the trees
She looked in my eyes
As she recited these words to me
Go before the maiden
Get down on your knees
Should you win her favor
She may tell you what she sees
The harvest is reaped
Seeds are shown
Multiplied by three
She is the maiden, the mother, the crone




                                            51
February 21, 2016 9:45 pm
Nancy Lewen I have no doubt that Ray will be able to defend himself against my harassment
complaint.
https://www.youtube.com/watch?v=3lPZKf3y7l4




Blackbird The Beatles
Blackbird singing in the dead of night Take these broken wings and learn to fly
All your life You were only waiting for this moment to arise
Blackbird singing in the dead of night Take these sunken eyes and learn to see
All your life You were only waiting for this moment to be free
Blackbird fly, blackbird fly Into the light of a dark black night
Blackbird fly, blackbird fly Into the light of a dark black night
Blackbird singing in the dead of night Take these broken wings and learn to fly
All your life You were only waiting for this moment to arise
You were only waiting for this moment to arise You were only waiting for this moment to arise




                                               52
February 22, 2016 7:56 am
Nancy Lewen Ray was singing this song this morning and trying to think of who sang it. I
couldn’t remember either. https://www.youtube.com/watch?v=2uUbyTGOIxk
**Video unavailable. Archived version available.
https://web.archive.org/web/20170607164200/https://www.youtube.com/watch?v=2uUbyTGOIxk




February 24, 2016 1:12 pm
Nancy Lewen Sat Sri Akaal. I privately told Dawn several times last Fall that by the time Pretam
discovered he had a brain tumor the size of a grapefruit, he was in the emergency room crashing.
He agreed to the surgery, and it was mostly his best friend who agreed to the surgery. In hindsight,
he’s said numerous times that he’s glad to be alive and all, but would have been okay with being in
Paradise. https://www.youtube.com/watch?v=lTp-7cal3II




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February 26, 2016 2:28 pm
Nancy Lewen Mr. G sort of reminds me of the Cat Stevens song.
https://www.youtube.com/watch?v=MRHN7nUg26M
**Video no longer available, but archived version indicates it was Cat Stevens How Can I Tell
You
https://web.archive.org/web/20150617064604/https://www.youtube.com/watch?v=MRHN7nUg2
6M




February 26, 2016 2:42 pm
Nancy Lewen I’m not Muslim, but I’ve studied a little bit about Islam. I left a Bible sitting on the
Unit E desk behind the computer. I think it was around page 720 where the Song of Solomon
starts, which is a sexual/sensual Biblical love poem very similar to the message of the Taj Mahal
that was built by Shah Jahan as the tomb for his favorite wife, Mumtaz Maha. Yanni sums it up
well in the beginning of this video. “Love is All.” https://youtube.com/watch?v=hBKwtnvfYZA

That link is no longer available, but I clearly remember what the video was.




                                                 54
February 27, 2016 8:37 pm
Nancy Lewen Every time I hear this song I’ll have a fond memory of Matt and the look I can
imagine he had on his face two months later when he got a copy in the mail of the letter I sent to
his wife on behalf of his daughters, who I never even met. Lol
https://www.youtube.com/watch?v=zvCBSSwgtg4




Ho Hey The Lumineers
Ho Hey Ho Hey I been trying to do it right
(Hey) I been living a lonely life (Ho) I been sleepin' here instead
(Hey) I been sleepin' in my bed (Ho) I been sleepin' in my bed (hey ho)
so show me family (Hey) all the blood that I will bleed
(Ho) I don't know where I belong (Hey) I don't know where I went wrong
(Ho) but I can write a song (hey) I belong with you, you belong with me, you're my sweetheart
I belong with you, you belong with me, you're my sweet' (ho)
Hey (come on now) Ho Hey
I don't think you're right for him (Hey) think of what it might have been if we
(Ho) took a bus to chinatown (Hey) I'd be standin' on canal (ho) and Bowery (hey)
(Ho) she'd be standin' next to me (hey)
I belong with you, you belong with me, you're my sweetheart
I belong with you, you belong with me, you're my sweetheart
Love we, need it now Let's hope, for some
'Cause oh, we're bleedin' out
I belong with you, you belong with me, you're my sweetheart
I belong with you, you belong with me, you're my sweet'(ho)
Hey Ho Hey




                                                 55
February 27, 2016
Nancy Lewen Actually, Matt didn’t just drink a little bit too much. He drank waaaay too much,
and truly reminded me of my alcoholic exhubby2. That’s his problem, not mine, but I do credit
Matt for introducing me to the dark and stormy drink. I had never had it, and it’s yummy in
moderation. https://www.youtube.com/watch?v=gXJG0N6_n_A




February 27, 2016 9:59 pm
Nancy Lewen I admit that I’m partially half drunk right now because I’m so overtired that I can’t
sleep and I’m trying to knock myself out so I can wake up refreshed tomorrow. But I’m quite
serious when I say that I came to the decision last June that I don’t plan to have sex with any more
men unless I plan to make love to that person for the rest of my life. I’ve never had casual sex until
last year, and I didn’t even realize at the time that that’s what it was. It really made me do alot of
soul searching. When I was watching Bible videos, (I know I’m weird,) I ran across this youtube
video that’s a wedding. They wrote their own vows. What these two people say to each other is
pretty much what I want for the rest of my life. I’m not a fling type. Just wanted to mention that in
case you ever want to go to the Cleveland Museum of Art with me.
https://www.youtube.com/watch?v=NAUjfnlBYvk.




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                   PHOTOS FROM FACEBOOK MESSAGES

 UNDERLINED PICTURES WERE PROVIDED BY BARRY BLASIC TO DMVA IN
          UNEMPLOYMENT COMPENSATION EXHIBIT E-14

    PICTURES THAT ARE NOT UNDERLINED ARE BASED ON MY MEMORY

September 14, 2015 10:30 am   I think it was a photo of my backyard
September 14, 2015 10:31 am   I think it was a photo of my backyard
September 14, 2015 10:31 am   I think it was a photo of my backyard
October 3, 2015 7:13 pm       Unknown.
October 6, 2015 8:05 am       I think it was a photo of my front porch
October 6, 2015 8:05 am       I think it was a photo of my front porch
October 6, 2015 8:05 am       I think it was a photo of my pressure washer
October 6, 2015 8:06 am       I think it was a photo of a hammer and chisel
October 26, 2015 6:21 pm      I think it was a photo of a stained glass suncatcher that broke
November 12, 2015 12:19 pm    I think it was a photo of an email about a job at VA
November 12, 2015 12:23 pm    I think it was a photo of the bottom of the same email
December 7, 2015 8:01 pm      I think it was a photo of nutcracker soldiers
December 7, 2015 8:08 pm      Unknown
December 31, 2015 8:25 pm     I think it was a photo of a guy on the online dating website
December 31, 2015 8:26 pm     Unknown
January 3, 2016 4:37 pm       I think it was a photo of my livingroom wall
January 3, 2016 5:15 pm       I think it was a photo of the dates for a museum exhibit
January 3, 2016 5:32 pm       I think it was a photo of the dates of another exhibit
January 5, 2016 9:29 pm       Unknown
January 6, 2016 8:46 am       Photo of my eye, like the “all seeing eye.”
January 6, 2016 9:21 am       Photo of text message from a nurse who had been fired
January 7, 2016 9:24 am       I think it was a photo of a text message from a man
January 7, 2016 10:06 am      Photo of the zipper of my pink fuzzy robe.
January 7, 2016 10:07 am      Photo of my feet in my slippers
January 8, 2016 3:01 pm       Photo of me looking at the back of me in a mirror
January 9, 2016 5:13 am       Photo of the Unit C first floor hallway
January 9, 2016 5:17 am       Photo of my extra heavy duty bra strap
January 10, 10:45 am          Photos of me in an old Glamour Shot and St. Teresa
January 12, 2016 3:50 am      It was a photo of the school bus stop/street corner
January 16, 2016 9:32 pm      Screenshot of Personal Care Home laws
January 19, 2016 3:47 pm      I think it was a photo of a woman from the online dating site
January 19, 2016 5:50 pm      I think it was a photo of Barry Blasic from online dating site
January 21, 2016 11:53 am     Unknown
January 22, 2016 2:57 pm      Unknown
January 22, 2016 3:49 pm      Unknown
January 26, 2016 5:31 am      Unknown
January 26, 2016 1:01 pm      Unknown
January 30, 2016 9:56 am      Unknown


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February 9, 2016 7:58 am     Unknown
February 12, 2016 8:12 am    I think it was a photo of my spare bedroom
February 12, 2016 8:14 am    I think it was a photo of my other spare bedroom
February 12, 2016 8:16 am    I think it was a photo of my basement
February 14, 2016 9:55 am    Unknown
February 16, 2016 10:13 am   Photo of me and my front door and snowy driveway
February 16, 2016 7:01 pm    Unknown
February 17, 2016 9:06 pm    Unknown
February 18, 2016 8:26 am    I think it was a photo of my blood sugar level
February 18, 2016 8:26 am    Unknown
February 18, 2016 12:28 pm   Photo of my second ex husband and I from 2006
February 18, 2016 12:29 pm   Photo of my second ex husband passed out drunk
February 18, 2016 12:31 pm   Unknown
February 19, 2016 10:05 pm   Photo of me in nursing uniform ready to work Unit C
February 20, 2016 7:41 am    Photo of DMVA policies on car seat beside me
February 20, 2016 7:44 am    Photo of me in car
February 21, 2016 9:48 am    Photo of a computer screen with typing on it
February 21, 2016 8:05 am    Unknown
February 23, 2016 7:07 am    It was a photo of a typewritten document
February 23, 2016 7:19 am    Photo of sex position drawing; “Closed for Business”
February 23, 2016 7:23 am    Photo of sex position drawing; “The Lazy Man”
February 23, 2017 7:27 am    Photo of sex position drawing; “The Cat”
February 23, 2016 7:30 am    I think it was a photo of my cat
February 23, 2016 7:51 am    I think it was a photo of my other cat
February 24, 2016 1:05 pm    Unknown
February 26, 2016 4:30 pm    Unknown
February 28, 2016 8:09 am    Unknown
February 28, 2016 8:10 am    Screenshot of sex offender database
February 28, 2016 8:32 am    Screenshot of news story with photo of children playing
February 28, 2016 10:11 am   Unknown
February 28, 2016 10:13 am   I think it was a photo of a dining room
February 28, 2016 10:13 am   I think it was a photo of a kitchen
February 28, 2016 10:15 am   I think it was a photo of a livingroom
February 28, 2016 11:36 am   Unknown
February 28, 2016 1:12 pm    Unknown
February 28, 2016 1:13 pm    Unknown
February 28, 2016 1:13 pm    Unknown
February 28, 2016 1:14 pm    Unknown
February 28, 2016 1:14 pm    Unknown
February 28, 2016 1:15 pm    Unknown
February 28, 2016 1:15 pm    Unknown
February 28, 2016 1:16 pm    Unknown
February 28, 2016 1:16 pm    Unknown
February 28, 2016 1:17 pm    Unknown
February 28, 2016 1:17 pm    Unknown


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February 28, 2016 1:18 pm              Unknown
February 28, 2016 1:18 pm              Unknown
February 28, 2016 1:19 pm              Unknown
February 29, 2016 7:56 am              Unknown


Post termination email and possibly relevant public posts on social media by Barry Blasic

       On June 13, 2016, the evening after the civil service hearing, an interesting email was sent

to me by Barry and his then new “anonymous” girlfriend. The way that it is entitled is simply

“Hegira” with no explanation for that title. It was written in the form of creative writing. Barry

wrote the first part of the letter, and ended his part by saying, “Oh yeah, and FUCK YOU.” His

new anonymous girlfriend wrote the second part, anonymously, and I replied to them.

       Merriam Webster online dictionary 3rd edition defines the word Hegira as “a journey,

especially when undertaken to escape from a dangerous or undesirable situation : EXODUS.” It

further explains that in the year A.D. 622, the prophet Muhammad was forced to flee his native

city, Mecca, to escape persecution from those who rejected his message. Muhammad, the founder

of Islam, migrated with a number of his followers to Medina, where they were guaranteed

protection by local clans. This event, which traditionally marks the beginning of the Islamic era, is

known in Arabic as the Hijra-literally, "departure." That Arabic term passed into Medieval Latin

(where it was modified to Hegira) and from there it eventually made its way into English. By the

mid-18th century, English speakers were using hegira for other journeys too, especially arduous

ones. (Merriam-Webster online dictionary.)

       Barry is not Muslim. He provided no explanation for why he titled his email in that

interesting way. Barry could not have been referring to my departure from PSSH, since I had not

willingly left or fled the workplace to a safe, protected place to avoid persecution. Quite the




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opposite. I had faced the fire and confronted the persecution head on from the beginning. It was

Barry and Rhonda who soon fled to other nursing jobs within months. I think he was referencing

some of my last posts in the Facebook messages, which were Islam themed.                    Over four years ago,

in a Facebook message on February 26, 2016, I wrote to Barry,

                           “I’m not Muslim, but I’ve studied a little bit about Islam. I left a Bible
                  sitting on the Unit E desk behind the computer. I think it was around page 720
                  where the Song of Solomon starts, which is a sexual/sensual Biblical love poem
                  very similar to the message of the Taj Mahal that was built by Shah Jahan as the
                  tomb for his favorite wife, Mumtaz Maha. Yanni sums it up well in the beginning
                  of this video. “Love is All.” https://youtube.com/watch?v=hBKwtnvfYZA

         Public record at the Pennwatch.pa gov website shows that Barry remained in employment

at PSSH for only another six months after testifying at my Civil Service and Unemployment

Compensation hearings, until some date after December 15, 2016 and before January 15, 2017.

         A few months later, May 18, 2017, Barry Blasic, the Defendant’s “star witness” in the

administrative hearings, publicly posted this “Star Wars” photo and comment on his Twitter social

media page. It might be irrelevant and have nothing to do with this case, or it might be intended

mockingly. There is no way to know for sure without directly questioning Barry Blasic:




                                                                                     5




5
  The Star Wars character, “Chewbacca” is a legendary Wookiee warrior and Han Solo’s longtime co-pilot. He
continues to serve as faithful first mate to carry out daring missions against the First Order behind the controls of
the Millennium Falcon. Known as “Chewie” to his closest friends, he was part of a core group of rebels who restored


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        On February 26, 2020, exactly four years after I sent him the “Love is All” video on

February 26, 2016, Barry Blasic temporarily changed his profile photo on Facebook, publicly

showing himself standing there with a very serious look on his face, wearing a suit coat, while

symbolically displaying the middle finger. In western culture, the middle finger is a gesture

symbolically showing “contempt.” Barry’s public display of the middle finger on Facebook on the

four year anniversary date of the “love is all” Facebook message could be mere coincidence. Or it

could be circumstantial evidence of “something” in relation to this case. Without asking him

directly, there really is no way of knowing if Barry’s display of the middle finger on February 26,

2020 had anything at all to do with this case.




                                                             (Barry Blasic’s temporary Facebook photo,
                 (Youtube music video that I sent to                  added on February 26, 2020.)
                 Barry Blasic on February 26, 2016)




freedom to the galaxy during the reign of the Galactic Empire. Known for his short temper and accuracy with a
bowcaster, Chewie also has a big heart and unwavering loyalty to his friends. (Star Wars Databank.
https://www.starwars.com/databank/chewbacca. Retrieved June 15, 2020)


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